Case 2:04-cr-20476-SHi\/| Document 115 Filed 07/29/05 Page 1 of 7 PageiD 311

uNlTEo sTATEs oisTRicT couRT Fu.zo civ jj n a
wEsTERN olsTRlcT oF TENNEssEE """' '
MEMPl-us olvisloN 05 JUL 29 PH h= he
uNlTED sTATEs oF AMERch umw M W_D
CiEHK, u.§. usech
.v. 2:o4cR20416-01-o wm 01 iii item

DAViD TATE
Steghen R. Lei‘f|erl CJA
Defense Attorney
707 Adams Ave.
Memphis, TN 38105

 

JUDGMENT |N A CRiM|NAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty to Counts 1-5, 7-9, 11 of the indictment on June 21, 2005.
Accordingiy, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section Nature of Offense Offense Number(s)
Conciuded

18 U.S.C. § 1951 (a) Obstructing Commerce by 11119/2004 1
Extortion

18 U.S.C. § 371 Conspiracy to Transport 11/22/2004 2
individuals for Prostitution Across
State Lines

18 U.S.C. §§ 2421 and 2 interstate Transportation of 11105/2004 3,4
individuals for Prostitution, Aiding
and Abetting

21 U.S.C. § 846 Conspiracy to Distribute MDMA 11/22/2004 5
(Ecstacy) 8 Methamphetamine

21 U.S.C. §§ 841(a)(1) and 2 Unlawfu| Possession with intent to 11/05/2004 7
Distribute MDMA (Ecstasy),
Aiding and Abetting

21 U.S.C. §§ 841 (a)(1) and 2 Uniawfu| Possession with intent to 11/05/2004 8

` Distribute Niethamphetamine,

Aiding and Abetting

21 U.S.C. §§ 841 (a)(1) and 2 Uniawful Possession with intent to 11/15/2004 9
Distribute Methamphetamine,
Aiding and Abetting

18 U.S.C. § 241 Conspiracy to Vio|ate the Rights 11/19/2004 11
of Citizens

This document entered on the docket sheet in compliance
with Fluie 55 and/or 32(b) FHCrP on ,______.......

Case 2:04-cr-20476-SHi\/| Document 115 Filed 07/29/05 Page 2 of 7 PageiD 312
Case No: 2:04CR20476-01 Defendant Name: David TATE Page 2 of 5

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count(s) 6 & 10 are dismissed on the motion of the United States.
|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until ali tines. restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 04/14/1967 July 29. 2005
Deft’s U.S. Marsha| No.: 20028-076

Defendant's Maiiing Address:
3039 Carrick
Germantown, TN 38138

  

M

/BERNlcE B. DONALD
uNlTED sTATEs olsTRlcT Juer

July dé , 2005

Case 2:04-cr-20476-SHi\/| Document 115 Filed 07/29/05 Page 3 of 7 PageiD 313

Case No: 2;04CR20476-01 Defendant Name: David TATE Page 3 of 5
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 168 Months as to Counts 1,5 and 7-9; 60 Months
as to Count 2; 120 Months as to Counts 3,4, and 11 to run concurrently for a total term
of 168 Months.

The Court recommends to the Bureau of Prisons:

That the defendant be designated to a facility as close to Memphis, Tennessee as
possible while considering the defendant’s safety and well being;

That the defendant participate in an alcohol abuse treatment program during term
of imprisonment;

That the defendant be considered for alternative confinement as soon as possibie.

The defendant is remanded to the custody of the United States Marshai.

RETURN

i have executed this judgment as foilows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. iV|arsha|

Case 2:04-cr-20476-SH|\/| Document 115 Filed 07/29/05 Page 4 of 7 PageiD 314

Case No: 2:04CR20476-01 Defendant Name: David TATE Page 4 of 5

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term 3 years as to Counts 1-4,7 and 11; 5 years as to Counts 5 and 9; 4 years as to
Count 8 to run concurrently for a total term of 5 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised reiease, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearml ammunitionl or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controiied substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation cfficer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation ocher;

2. The defendant shall report to the probation ocher as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance. or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold. used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

Case 2:04-cr-20476-SH|\/| Document 115 Filed 07/29/05 Page 5 of 7 PageiD 315
Case No: 2:04CR20476-01 Defendant Name: David TATE Page 5 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notihcation requirement.

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Pena|ties sheet of this judgment.

ADDIT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant sha|i also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment programs as

directed by the Probation Officer;

The defendant shall participate in mentai health counseling as directed by the Probation

Officer;

The defendant shall cooperate with DNA collection as directed by the Probation Officer.

CRIM|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Total Restitution
$900.00

The Specia| Assessment shall be due immediately

F|NE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 115 in
case 2:04-CR-20476 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

Stephen R. Leftier
LEFFLER LAW OFFICE
707 Adams Ave.
1\/lemphis7 TN 38105

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 .1 efferson Ave.

Ste. 200

1\/lemphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Steffen G. Schreiner

LAW OFFICE OF STEFFEN G. SCHREINER
369 N. Main

1\/lemphis7 TN 38103

.1 oseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

1\/lemphis7 TN 38103

Mary Catherine .1 ermann
FEDERAL PUBLIC DEFENDER
200 .1 efferson Ave.

Ste. 200

1\/lemphis7 TN 38103

Case 2:04-cr-20476-SH|\/| Document 115 Filed 07/29/05 Page 7 of 7 PageiD 317

Honorable Bernice Donald
US DISTRICT COURT

